Case 1:21-cv-04607-MKV Document 47-3 Filed 12/06/22 Page 1 of 11




PLAINTIFFS’ EXHIBIT C
12/6/22, 4:29 PM    Case 1:21-cv-04607-MKV Document
                                               FW: Re:47-3   Filed
                                                       CG3 Media et al 12/06/22
                                                                       v. Belleau Page 2 of 11
  FW: Re: CG3 Media et al v. Belleau
  From: dkeyhani@keyhanillc.com <dkeyhani@keyhanillc.com>
  Sent: Sat, Dec 3, 2022 at 2:41 pm
  To:   Scott Draffin


  See email chain below regarding original production of the source
  code in PDF format and defendant's accepting it.

  Darius
  -----Original Message-----
  From: "fstephenson@keyhanillc.com"
  <fstephenson@keyhanillc.com>
  Sent: Thursday, October 14, 2021 8:40pm
  To: "Bryon Wasserman" <bryon@radip.com>
  Cc: "dkeyhani@keyhanillc.com" <dkeyhani@keyhanillc.com>,
  "aengel@keyhanillc.com" <aengel@keyhanillc.com>, "Etai
  Lahav" <etai@radip.com>
  Subject: Re: CG3 Media et al v. Belleau

  Dear Bryon,

  The source code was sent out via UPS today. Tracking Number -
  1ZE037F94206862840.

  We are in the process of getting responsive documents to
  Defendant's first request for documents Bates numbered and they
  will be produced next week.

  Kind regards,

  Frances

  -----Original Message-----
  From: "Bryon Wasserman" <bryon@radip.com>
https://apps.rackspace.com/versions/webmail/19.0.22-RC/popup.php?wsid=a741ba55f0f4490dba90ad1da5b3a21d-282e06437cad4ea9b470d92268…   1/10
12/6/22, 4:29 PM    Case 1:21-cv-04607-MKV Document
                                               FW: Re:47-3   Filed
                                                       CG3 Media et al 12/06/22
                                                                       v. Belleau Page 3 of 11
  Sent: Monday, October 11, 2021 5:55pm
  To: "fstephenson@keyhanillc.com"
  <fstephenson@keyhanillc.com>
  Cc: "dkeyhani@keyhanillc.com" <dkeyhani@keyhanillc.com>,
  "aengel@keyhanillc.com" <aengel@keyhanillc.com>, "Etai
  Lahav" <etai@radip.com>
  Subject: Re: CG3 Media et al v. Belleau

  Frances

  We are now at one week past the deadline for inspection. Please
  confirm when CG3 will be producing its source code this week.

  While we are willing to accept the source code in PDF format, in
  doing so Belleau does not waive the right to seek inspection of the
  code in its native format.

  Regards
  Bryon

  Bryon Wasserman
  Radulescu LLP | Of Counsel
  646-502-5935 Direct
  202-281-0664 Cell
  646-502-5950 Main


  On 10/8/21, 3:48 PM, "fstephenson@keyhanillc.com"
  <fstephenson@keyhanillc.com> wrote:

  Hi Bryon,

  Potentially source code in pdf format, but we can confirm next
https://apps.rackspace.com/versions/webmail/19.0.22-RC/popup.php?wsid=a741ba55f0f4490dba90ad1da5b3a21d-282e06437cad4ea9b470d92268…   2/10
12/6/22, 4:29 PM    Case 1:21-cv-04607-MKV Document
                                               FW: Re:47-3   Filed
                                                       CG3 Media et al 12/06/22
                                                                       v. Belleau Page 4 of 11
  week.

  Best wishes,

  Frances

  -----Original Message-----
  From: "Bryon Wasserman" <bryon@radip.com>
  Sent: Thursday, October 7, 2021 7:00pm
  To: "fstephenson@keyhanillc.com"
  <fstephenson@keyhanillc.com>
  Cc: "dkeyhani@keyhanillc.com" <dkeyhani@keyhanillc.com>,
  "aengel@keyhanillc.com" <aengel@keyhanillc.com>, "Etai
  Lahav" <etai@radip.com>
  Subject: Re: CG3 Media et al v. Belleau

  Hello Frances

  I believe this approach should generally work for us, depending on
  the particulars. Can you clarify what specifically you intend to
  provide and in which format?

  Thank you
  Bryon


  Bryon Wasserman
  Radulescu LLP | Of Counsel
  646-502-5935 Direct
  202-281-0664 Cell
  646-502-5950 Main


https://apps.rackspace.com/versions/webmail/19.0.22-RC/popup.php?wsid=a741ba55f0f4490dba90ad1da5b3a21d-282e06437cad4ea9b470d92268…   3/10
12/6/22, 4:29 PM    Case 1:21-cv-04607-MKV Document
                                               FW: Re:47-3   Filed
                                                       CG3 Media et al 12/06/22
                                                                       v. Belleau Page 5 of 11
  On 10/7/21, 2:25 PM, "fstephenson@keyhanillc.com"
  <fstephenson@keyhanillc.com> wrote:

  Dear Bryon,

  We have conferred with our client and for the purpose of
  efficiency and to save cost and time, we are considering
  transmitting the source code via express mail with signature
  required to your office directly. We will need until next week to
  confirm this. We assume that you are OK with this.

  If for some reason this is not acceptable we can meet and confer
  with you tomorrow.

  Best wishes,

  Frances

  -----Original Message-----
  From: "Bryon Wasserman" <bryon@radip.com>
  Sent: Thursday, October 7, 2021 12:14pm
  To: "fstephenson@keyhanillc.com"
  <fstephenson@keyhanillc.com>, "dkeyhani@keyhanillc.com"
  <dkeyhani@keyhanillc.com>
  Cc: "dkeyhani@keyhanillc.com" <dkeyhani@keyhanillc.com>,
  "aengel@keyhanillc.com" <aengel@keyhanillc.com>, "Etai
  Lahav" <etai@radip.com>
  Subject: Re: CG3 Media et al v. Belleau

  Dear Darius

  We have received no response to our request for a meet and confer.
  If CG3 will not agree to meet and confer by close of business
https://apps.rackspace.com/versions/webmail/19.0.22-RC/popup.php?wsid=a741ba55f0f4490dba90ad1da5b3a21d-282e06437cad4ea9b470d92268…   4/10
12/6/22, 4:29 PM    Case 1:21-cv-04607-MKV Document
                                               FW: Re:47-3   Filed
                                                       CG3 Media et al 12/06/22
                                                                       v. Belleau Page 6 of 11
  tomorrow we will file the attached letter with the court seeking a
  discovery conference.

  Regards
  Bryon

  Bryon Wasserman
  Radulescu LLP | Of Counsel
  646-502-5935 Direct
  202-281-0664 Cell
  646-502-5950 Main


  From: Bryon Wasserman <bryon@radip.com>
  Date: Thursday, September 30, 2021 at 6:13 PM
  To: "fstephenson@keyhanillc.com"
  <fstephenson@keyhanillc.com>
  Cc: "dkeyhani@keyhanillc.com" <dkeyhani@keyhanillc.com>,
  "aengel@keyhanillc.com" <aengel@keyhanillc.com>, Etai Lahav
  <etai@radip.com>
  Subject: Re: CG3 Media et al v. Belleau

  Frances, Darius

  The protective order requires that the source code be made
  available in either "(1) the office of the Producing Party’s primary
  outside counsel of record in this action or (2) a location mutually
  agreed upon by the Receiving and Producing Parties." While we
  would prefer to reach agreement on a location in New York city,
  Mr. Keyhani’s office is the Washington DC office listed on his
  letterhead and in his signature block. It is not anywhere his firm
  leases storage space.

https://apps.rackspace.com/versions/webmail/19.0.22-RC/popup.php?wsid=a741ba55f0f4490dba90ad1da5b3a21d-282e06437cad4ea9b470d92268…   5/10
12/6/22, 4:29 PM    Case 1:21-cv-04607-MKV Document
                                               FW: Re:47-3   Filed
                                                       CG3 Media et al 12/06/22
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  Nor does the protective order grant CG3 discretion to pick and
  choose the days when it will allow the source code to be inspected:
  “The Source Code Computer will be made available for inspection
  until the close of fact discovery in this action between the hours of
  10 a.m. and 6 p.m. local time on business days (i.e., weekdays that
  are not federal holidays), upon reasonable written notice to the
  Producing Party, which shall not be less than five (5) business days
  in advance of the requested inspection. Prior to the first inspection
  of any requested Source Code, the Receiving Party shall provide
  fourteen (14) days’ notice of the Source Code that it wishes to
  inspect.”

  Please confirm that the source code computer will be made
  available in your Washington DC office on October 4th or let us
  know a time tomorrow in which you are available to meet and
  confer.

  Regards
  Bryon




  Bryon Wasserman

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  646-502-5950 Main
https://apps.rackspace.com/versions/webmail/19.0.22-RC/popup.php?wsid=a741ba55f0f4490dba90ad1da5b3a21d-282e06437cad4ea9b470d92268…   6/10
12/6/22, 4:29 PM    Case 1:21-cv-04607-MKV Document
                                               FW: Re:47-3   Filed
                                                       CG3 Media et al 12/06/22
                                                                       v. Belleau Page 8 of 11


  Admitted in Pennsylvania,

  California and the

  District of Columbia

  Not admitted in New York




  On 9/29/21, 4:37 PM, "fstephenson@keyhanillc.com"
  <fstephenson@keyhanillc.com> wrote:



  Hi Bryon,



  We have conferred with our client and can make the source code
  available October 19th or October 21th at our administrative office
  where we maintain our client files in East Aurora NY.



  Kind regards,



  Frances
https://apps.rackspace.com/versions/webmail/19.0.22-RC/popup.php?wsid=a741ba55f0f4490dba90ad1da5b3a21d-282e06437cad4ea9b470d92268…   7/10
12/6/22, 4:29 PM    Case 1:21-cv-04607-MKV Document
                                               FW: Re:47-3   Filed
                                                       CG3 Media et al 12/06/22
                                                                       v. Belleau Page 9 of 11




  -----Original Message-----

  From: "Bryon Wasserman" <bryon@radip.com>

  Sent: Monday, September 27, 2021 2:35pm

  To: "dkeyhani@keyhanillc.com" <dkeyhani@keyhanillc.com>,
  "aengel@keyhanillc.com" <aengel@keyhanillc.com>,
  "fstephenson@keyhanillc.com" <fstephenson@keyhanillc.com>

  Cc: "Etai Lahav" <etai@radip.com>

  Subject: Re: CG3 Media et al v. Belleau



  Dear Darius, Frances



  I am writing to follow up about the status of the request below.
  Please confirm that CG3 will be making its source code available
  and advise if it will do so in New York.



  Best Regards

  Bryon

https://apps.rackspace.com/versions/webmail/19.0.22-RC/popup.php?wsid=a741ba55f0f4490dba90ad1da5b3a21d-282e06437cad4ea9b470d92268…   8/10
12/6/22, 4:29 PM   Case 1:21-cv-04607-MKV Document  47-3
                                               FW: Re:      Filed
                                                       CG3 Media et al12/06/22
                                                                       v. Belleau Page 10 of 11




  From: Bryon Wasserman <bryon@radip.com>

  Date: Monday, September 20, 2021 at 5:22 PM

  To: "dkeyhani@keyhanillc.com" <dkeyhani@keyhanillc.com>,
  "aengel@keyhanillc.com" <aengel@keyhanillc.com>

  Cc: Etai Lahav <etai@radip.com>

  Subject: CG3 Media et al v. Belleau



  Dear Darius



  Pursuant to the Protective Order Belleau seeks to inspect the
  source code for the SpeakFlow product on October 4 (or earlier if
  you are willing to waive any part of the 14 day period). Further,
  please let us know whether you are willing to make it available at
  a mutually acceptable location within New York City pursuant to
  Section 14(a) of the protective order.



  Regards

  Bryon


https://apps.rackspace.com/versions/webmail/19.0.22-RC/popup.php?wsid=a741ba55f0f4490dba90ad1da5b3a21d-282e06437cad4ea9b470d92268…   9/10
12/6/22, 4:29 PM   Case 1:21-cv-04607-MKV Document  47-3
                                               FW: Re:      Filed
                                                       CG3 Media et al12/06/22
                                                                       v. Belleau Page 11 of 11


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  California and the

  District of Columbia

  Not admitted in New York




https://apps.rackspace.com/versions/webmail/19.0.22-RC/popup.php?wsid=a741ba55f0f4490dba90ad1da5b3a21d-282e06437cad4ea9b470d9226…   10/10
